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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                 CASE NO. 23-60599-CIV-SMITH

  VITAL PHARMACEUTICALS, INC., and JHO
  INTELLECTUAL PROPERTY HOLDINGS, LLC,

         Plaintiffs,                                       Bankr. Adv. Pro. No 23-01031 (PDR)
  v.

  ORANGE BANG, INC., and MONSTER ENERGY
  COMPANY,

        Defendants.
  __________________________________________/

       AMENDED ORDER GRANTING DEFENDANTS’ MOTION FOR ENTRY OF AN
        ORDER WITHDRAWING REFERENCE AND TRANSFERRING VENUE OF
         ADVERSARY PROCEEDING TO CENTRAL DISTRICT OF CALIFORNIA

         THIS MATTER came before the Court on the Defendants’ Joint Motion for Entry of An

  Order Pursuant to 28 U.S.C. Sections 157(d) and 1412 and Bankruptcy Rule 5011(a) Withdrawing

  the Reference and Transferring Venue of Adversary Proceeding to Central District of California

  (“Motion”)[DE 1], Plaintiffs’ Response in opposition to Motion (the “Response”) [DE 2-2], and

  Defendants’ Reply in support of the Motion (the “Reply”) [DE 2-3]. The Court has also reviewed

  the Plaintiffs’ Motion to Reconsider this Court’s original Order [DE 12] granting the Motion [DE

  13] and the Defendants’ Response to the Motion to Reconsider [DE __]. The Court acknowledges

  that Plaintiffs have timely filed their Response to the Motion and therefore amends the Order to

  vacate such portion of the Order based upon any default on the part of the Plaintiffs.
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          Upon consideration of the Motion, Response, and Reply, mandatory withdrawal of

  reference and transfer of this case to the Central District of California is well founded based upon

  the factual and legal support in the Defendants’ Motion. Accordingly, it is ORDERED that:

                 1.       The Joint Motion for Entry of an Order Pursuant to 28 U.S.C. Sections

          157(d) and 1412 and Bankruptcy Rule 5011(a) Withdrawing the Reference and

          Transferring Venue of Adversary Proceeding to Central District of California is

          GRANTED.

                 2.       Pursuant to 28 U.S.C. Section 157(d), the reference to the adversary

          proceeding is WITHDRAWN.

                 3.       Pursuant to 28 U.S.C. Section 1412, the Clerk is directed to TRANSFER

          the adversary proceeding pending under Bankr. Adv. Pro. No. 23-01031(PDR) in the

          Southern District of Florida to the United States District Court for the Central District of

          California, for adjudication in connection with the related case, Vital Pharmaceuticals, Inc.

          v. Orange Bang, Inc., Case No. 5:20-cv-01464 (C.D. Cal.).

                 4.       All pending motions are DENIED as moot.

                 5.       This case is CLOSED.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Florida this ___ day of May,

  2023.



                                                _______________________________________
                                                UNITED STATES DISTRICT COURT JUDGE

  Cc: Counsel of record




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